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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-00009 DAD-BAM
12                                 Plaintiff,           STIPULATION TO CONTINUE MOTION IN
                                                        LIMINE HEARING AND ORDER
13                          v.
14   ANTONIO CASTELLANOS, ET. AL.                       Date: January
                                                        Time: 10:00 a.m.
15                                 Defendants.          Honorable Dale A. Drozd
16

17
            The United States of America, by and through MCGREGOR W. SCOTT, United States
18
     Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants
19
     Melissa and Lorena Velasquez, by and through their respective attorneys of record, James Homola and
20
     Dale Blickenstaff hereby stipulate to continue the motion in limine hearing in this case from January 27,
21
     2020 until February 18, 2020 at 10:00 a.m.
22
      Dated: January 22, 2020                                MCGREGOR W. SCOTT
23                                                           United States Attorney
24                                                           /s/ Kathleen A. Servatius
25                                                           KATHLEEN A. SERVATIUS
                                                             Assistant United States Attorney
26
27
     Dated: January 22, 2020                      /s/ Dale A. Blickenstaff
28                                                Attorney for Lorena Mariscal Velasquez


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          Case 1:16-cr-00009-DAD-BAM Document 158 Filed 01/23/20 Page 2 of 2


 1
     Dated: January 22, 2020                     /s/ James R. Homola
 2                                               Attorneys for Defendant Melissa Velasquez
 3

 4                                                 ORDER

 5         IT IS SO ORDERED that the motion in limine set for Monday, January 27, 2020 be continued

 6 to Tuesday, February 18, 2020 at 10:00 a.m.

 7 IT IS SO ORDERED.

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        Dated:   January 23, 2020
 9                                                   UNITED STATES DISTRICT JUDGE

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